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Peter Clay                               CISSP
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     Professional summary
       Leader, advisor, mentor, strategist and experienced executive in the field of information security with a proven
       record of building security programs or consultancies and executing either on a global scale. Passionate about the
       role of security as both a protective and enabling function within the enterprise and skilled at delivering market
       beating results and capabilities. Experienced leading an internal CISO function, an external consultancy or
       participating in the development of new security tools and methodologies as a single practitioner.

       Internationally experienced cyber security executive and senior advisor with 23 years of service to the world's
       largest private and public‐sector entities, Fortune 1000's, small to mid-sized organizations, US legislative and
       executive branches, and regulatory agencies.


         Summary of skills
            Leadership ‐ startups to large multinationals                      Security Intelligence Fusion Centers
            M&A due diligence and integration                                  Strategy and management consulting
            Enterprise security design and architecture                        Security Analytics and Operations
            Managed Security Services Provider (MSSP)                          System development lifecycle
            Network Intrusion Detection Systems (NIDS/NIPS)                    Regulatory compliance (FISMA, SOX, DFAR, PCI)
            Host Intrusion Prevention Systems (HIDS/HIPS)                      Privacy compliance (Privacy Act, GDPR)
            Network Security Monitoring (NSM)                                  IT Governance (NIST, DOD, CobIT, ITIL)
            Security Operations Centers (SOC)                                  Cross functional collaboration
            Event Correlation and Log Aggregation (SEM)                        Intellectual property control methods
            Integrated security monitoring solutions (SEIM)                    Security evangelism/client engagement
            Network and host forensic analysis                                 Technology project management
            Anti‐virus/malware enterprise solutions                            Executive briefings and presentations
            Computer incident response (CIRT/CSIRT)                            Security strategies and roadmaps
            Business Continuity/Disaster Recovery (BC/DR)                      Training development and delivery
            Policy development and enforcement                                 Venture integration/M&A analysis
            Enterprise vulnerability assessment systems                        Enterprise risk management
            PKI/digital rights management solutions

         Career summary
              COO                                   Dark3                                                      2019-Present
              Owner                                 Fenris                                                    2002 – present
              Partner                               Small Federal Consultancy                                   2016 – 2018
              CISO                                  Qlik                                                        2015 –2016
              CISO                                  Invotas                                                     2014 – 2015
              Director II/CISO Fed Practice         Deloitte                                                    2010 – 2014
              Senior Manager                        Deloitte & Touché LLP                                       2005 – 2010
              Senior Manager                        Urbach, Hacker, Young                                       2002 – 2004
              Partner                               CoDevelop                                                   1995 – 2002

         Certifications and Education
            Hendrix College (1985)                                             Bachelor of Arts

            Oxford University (1983)                                           Junior Year Abroad Program

            Certified Information Systems Security Professional (CISSP)        Member, ISC2

            Top Secret DoD Clearance




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Professional experience

  Fenris, Charlottesville, VA                                                                              2002 – present
      Founder
       Strategic advisor and independent expert in the fields of cyber security, managed services, regulatory
       compliance, and virtual CISO services. Specialized in supporting small to mid-sized enterprises (SME) implement,
       design, manage and operate their information security programs efficiently and effectively while meeting their
       compliance and reporting obligations.



      Automated Financial Systems New York, NY                                                                 2002-2010
      Managed Security Services
       Retained to develop and deliver a complete managed security solution to the pioneer in online stock and
       commodities trading. Services included network/host intrusion detection, firewall management, incident
       response, PKI design, vulnerability management, security architecture and compliance reporting (NYSE/AMEX
       exchange requirements). Resulted in compliant security operations and identified as a key factor in winning bids
       on over $15 mm in new business.

      Potlatch Timber Products Warren, AR                                                                         2004
      Lead Security Architect, Industrial Controls
       Developed and delivered secured industrial control solution that enabled remote vendor support via modem to
       16 machine centers located in Central Arkansas. Identified as reducing major machine center downtime by over
       74% and contributed to increasing over all mill throughput by 7% year over year.

      Katzcy Reston, VA                                                                                           2018

      Virtual CISO
       Retained to develop and implement company and product strategy for Katzcy’s compliance with NIST 171
       requirements in support of their Department of Defense contractor support. Designing the technology stack,
       completing the risk assessment, security plan and disaster recovery documentation while performing the
       continuous monitoring function and documenting the results.

  ZTP Rosslyn, VA                                                       Sep 2016 – June 2018
      Partner
       Joined the partnership to develop the federal practice business pipeline, develop unique offerings for the federal
       and commercial markets and mentor the in-house security talent and identify additional talent that could add
       value to our operations. In 18 months with ZTP led the capture of over $70M in new federal business and helped
       the company expand into 3 new federal clients. Additionally, led the development of a commercial small to mid-
       sized business focused managed security practice that was recently selected by a global insurance company to be
       their exclusive go to market partner for a global launch by pairing their small business insurance products with
       ZenOpz managed technology stack.

      ZTP Client engagements:

      Small Business Administration Washington, DC                                                  Sep 2016-June 2018
      Managed Security Services
       Retained to develop and deliver complete security program support to the entire agency to include build a
       Security Operations Center from scratch, support over 30 authorization and accreditation packages annually,
       provide all security engineering, provide security intelligence functions and processes, be the key resource for
       disaster recovery and business continuity operations, perform all vulnerability management functions, provide
       key support for patch management, provide user training for over 6000 employees and enterprise wide
       penetration testing. During my tenure the scale of the program more than doubled and revenue jumped from
       $3.5mm to over $10 mm per annum.




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      General Services Administration, Washington DC                                                 Sep 2016-June 2018
      Subject Matter Expert
       Supported the accreditation and testing processes of ten vendors on a government wide contract to provide
       internet and networking services across the federal government. Developed a streamlined approach to
       performing the testing processes necessary for the accreditation and worked with the government selected
       vendors to prepare their documentation for submission and testing. Results of the streamlined testing efforts
       resulted in a follow-on award of over $2mm for FY 2019 to continue program support.

      ZTP Commercial Charlottesville, VA                                                            Sep 2016-June 2018
      Founder/Lead Architect
       Developed a small business focused outsourced security program offering based on open source/free software
       designed to provide small to mid-sized organizations with the ability to execute a full security program in support
       of their specific compliance and data protection requirements. Developed and documented the 360-review
       process which married Risk Assessment, Security Maturity Model, Threat Matrix and Vulnerability assessments
       to provide a holistic view of the client’s information security posture. Designed and built the tech stack
       supporting the process to make maximum use of automation/orchestration to reduce the headcount required to
       provide the operational support. Was selected over 3 national vendors as a go to market partner with a national
       education tech company with 1400 clients in the US and selected by an international insurance vendor as the
       launch partner for a global re-launch of their cybersecurity insurance product lines.

  Qlik, Philadelphia, PA                                                                           May 2015-Sep 2016
      Chief Information Security Officer
       As the first CISO hired by Qlik and the senior security practitioner on staff, I implemented the initial information
       security program at Qlik by rapidly creating cyber and data protection capabilities using limited staff and very
       limited financial resources. At the end of the first year the Qlik security program was protecting the primary
       assets of a software company operating in 32 countries globally.
           Stood up a combined operations/security Global Operations Center to provide a consolidated monitoring/triage function
            for the global network to include building 28 playbooks to support entity requirements in the first 6 months of operation
           Implemented entity wide security policies and procedures
           Managed 2 cycles of SOX 404 review successfully mitigating multiple findings from previous reviews
           Supported the re-architecting of the Salesforce solution to include minimal required security controls
           Supported federal sales by leveraging relationships and experience to manage federal security
            requirements for cloud and on prem solutions
           Implemented the first vulnerability management program in corporate history
           Designed, developed and led the CSIRT capability for the company
           Developed and supported the re-architecting of the global network to increase security of critical assets and
            reduce bottlenecks and single points of failure across the globe
           Created and evangelized a cyber governance model to leveraging open source tools and capabilities to
            rapidly increase the security maturity of the program
           Maintained active private/public engagement with US and international law enforcement, intelligence,
            national security, and industry partners in support of issues and requirements




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  Invotas, Alexandria VA                                                                  May 2014 – May 2015
      CISO, Consulting Lead
      As the client facing cyber security leader for Invotas my duties included securing our cloud-based/on premise orchestration
      engine, documenting our security environment, interfacing with clients regarding our risk management practices for the
      commercial and classified efforts and managing the development of the consulting and sales engineering group. Additionally, I
      was designated one of the thought leaders and authors for the company and worked with the marketing group to deliver timely
      articles and thought pieces to industry publications, manage interviews with national press and speak on a variety of topics at
      international security programs in the US, UK and UAE.
            Primary input into the development and operational requirements for the software products
            Responsible for developing the standardized “playbooks” for client use to include: endpoint, network and
             application incident response, automation supporting security intelligence enrichment functions,
             automated reporting and analysis capabilities, secure environment maintenance and integration with
             multiple classes of tools to include SEM, SIEM, Firewall, Router, HID, NID, Intelligence applications,
             endpoints and applications
            Delivered over 40 in person presentations ranging from keynote at a regional conference to small groups
             internationally (US, Europe, Middle East)
            Developed and evangelized original end‐to‐end company security strategy to integrate enterprise, product,
             and customer security objectives as a continuous cyber maturity model
            Architected and led global cyber governance and standardization efforts to align processes with applicable NIST, DOD and
             ISO requirements
            Led a multinational team of cyber security professionals and delivered security and sales engineering
             services globally
            Created and evangelized a cyber governance model to leverage automation and orchestration investment
             in cyber security initiatives for our clients
            Active private/public engagement with US and international law enforcement, intelligence, national
             security, and industry partners to enhance orchestration awareness, capabilities, and training to US
             intelligence entities

  Deloitte LLP, Rosslyn, VA                                                                     Feb 2010 – May 2014

      Chief Information Security Officer Deloitte Federal Practice
      Developed and implemented a separate federally compliant computing environment that enabled the 8000 federal practitioners
      to operate without changing their hardware or computing environments. In addition, the Federal CISO team developed a federal
      cloud offering that provided the federal practice with the ability to leverage federally compliant infrastructure, platform and
      applications as a service and include those offerings to federal clients. The success of the federal program resulted in the transfer
      of the Federal Practice CISO team to the US Firms Information Risk and Compliance Group where I was rapidly promoted from
      Senior Manager to Director II and took on additional responsibilities to include firm wide security architecture and leadership of
      IRC.
        Reduced compliance efforts and requirements managed by the US firm from over 300 to 2 (FISMA/Firm global requirements)
        Responsible for securing ~60,000 personnel (on 4 continents) and 35% share of Deloitte’s global $28B and 210,000‐ employee
          enterprise environment
        Restructured and led M&A Cyber Due Diligence and Remediation Program to enable accelerated integration of 19 acquired
          environments through risk‐based assessment and remediation model
        Architected and oversaw deployment of a $12M global enterprise SIEM solution
        Architected and oversaw deployment of a $2M global Data Loss Prevention Solution
        Established US Firm’s PKI infrastructure and deployed it to over 18 countries in 8 months
        Provided strategic guidance in development, deployment and use of a custom internally‐developed
          SEM/DLP/Backup solution designed for real‐time forensic analysis and incident response support
        Responded to every major intrusion incident on Deloitte’s networks worldwide from 2010-2014
        Architected and deployed a FEDRAMP certified solution in support of Deloitte’s federal practice that included Infrastructure,
          Platform and Application components in 4 months
        Oversaw PCI-DSS implementation for an 800-room hotel/training center
        Active private/public engagement with US and international law enforcement, intelligence, national security, and industry
          partners to enhance threat intelligence awareness, defensive capabilities, and maturity benchmarking of the firm’s cyber
          efforts as part of a long‐term continuous improvement plan
        Developed & delivered award winning security training programs to train over 60,000 users annually using computer-based
          training, phishing exercises, customized training and executive briefing series on cybersecurity
        Rated in the top 10% of my peers throughout my tenure at Deloitte LLP

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        Directly involved with over 80 interactions with F100 customers, partners, Federal and State CISO/CIO/CEO level

  Deloitte & Touché LLP, Rosslyn, VA                                                        Aug 2005 – Feb 2010
      Senior Manager
                      th
      Hired as the 16 member of the Deloitte & Touché LLP Enterprise Risk practice and over the course of 4.5 years was integral to
      the capture of $65M in revenue at 6 different executive agencies, developed multiple federally focused processes (penetration
      testing, continuous compliance, risk management) still in use today and was part of the leadership team that delivered 400%
      growth over my tenure. Additionally, developed relationships with multiple software vendors to increase federal and commercial
      opportunities. Consistently rated in the top 25% of my peers in annual reviews.

      Deloitte & Touch LLP Client Engagements:

      Department of Homeland Security (DHS), Crystal City, VA                                               2008–2010
          Senior Enterprise Risk Team Lead
           Designed and implemented the reference and solution architecture for the initial cloud environment to facilitate
            intelligence sharing between multiple agencies
           Supported the design and implementation of security processes for 8 agency wide applications
           Oversaw the authorization and accreditation process for multiple federal environments through a team of ISSO’s
           Participated in developing formal feedback for DHS response to NIST regarding Special Publication 800-53
           Participated in developing the DHS policy regarding the accreditation of third party applications

      World Bank, Washington, DC                                                                                   2009

          Penetration Test Lead
           Performed a series of penetration tests versus World Bank environments
           Developed the executive report deliverables and presented them to client leadership
           Architected the ongoing testing program on behalf of World Bank

      Department of Defense, Washington, DC                                                                  2006-2008
          IT Audit Lead
           Led multiple IT audits of general computer controls and technical configurations on behalf of DoD Inspector
            General with a team composed of Deloitte and contractor personnel
           Performed analysis of technical configurations and architectures throughout DoD in accordance with DoD instructions
           Developed recommendations for architecture, configuration and operational improvements
           Primary author of 4 DoD IG reports on various DoD applications

      United States Mint, Washington, DC                                                                      2006-2007
          IT Audit Lead
           Led the initial reviews performed in accordance with OMB A-123 (SOX for the federal government)
           Reviewed 6 Mint locations simultaneously with multiple teams of auditors and information security professionals
           Completed the time compressed project in 75% of the allotted time resulting in a government savings of over $1.2M in the
            first year
           Examined 30+ mission‐critical business applications and functional components
           Audited critical infrastructure services: SIEM, Endpoint, Logging, Incident Response
           Determined compliance state at component, application, and functional levels




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Urbach, Hacker, Young LLC Washington, DC
2002 – 2004
Senior Manager

        Hired as the deputy leader of the IT Audit and Security team to provide leadership to multiple Navy Inspector General
        Audits and develop methodologies to support the growth of the IT security practice. Doubled the size of the practice
        in two years and created three new lines of business to support penetration of the commercial and federal markets.

UHY LLP Client Engagements:
      Navy IG, Washington DC                                                                                     2002-2004

      Team Lead
     Led multiple reviews of Navy applications spanning global operations to include payroll, logistics, training and
      infrastructure systems
                  Deployed teams globally to perform local testing processes
                  Completed 100% of reviews on time and on budget
                  Examined 10+ applications and processes by determining compliance state at component, application and
                   functional levels
                  Performed initial penetration testing in support of Navy IG Audits

      New York Counties, New York                                                                                    2002

      Team Lead
                  Led HIPAA reviews for hospitals in 9 New York counties
                  Completed 100% of reviews on time and on budget
                  Developed a data discovery and analysis technique that created significant operational efficiencies
                  Used the operational efficiencies to expand the scope to include additional testing services in support of
                   hospital disaster recovery plans
      Deutsche Bank, Global                                                                                          2004
      Security Engineer/Architect
                  Planned, architected and trained 6 travel teams on the Securify application for deployment
                   throughout Deutsche Bank’s global environment
                  Managed all aspects of 6 simultaneous implementations every week for 5 weeks for a total of 30
                   installations on 6 continents
                  Developed the formal documentation and “playbook” for deploying the Securify application along with the
                   initial

  CoDevelop, Charlottesville, VA                                                                            1995 – 2002
  Partner


        General Partner in CoDevelop an internet incubator located designed to identify very early stage companies and
        provide them with the resources necessary to realize the value of their concepts. Developed the 5-50-500 strategy
        which allowed companies to rapidly develop from a “back of the napkin” stage to effective market entry and a
        candidate for institutional investment. Provided operational leadership and mentorship to the early stage
        companies and successfully helped 4 of the companies to exit the program




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